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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           2:15-CR-0015 GEB

12                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                         CONTINUING STATUS CONFERENCE, AND
13                          v.                           EXCLUDING TIME UNDER THE SPEEDY
                                                         TRIAL ACT
14   SONIA KIM, ET AL.,
                                                         DATE: January 22, 2016
15                                Defendants.            TIME: 9:00 a.m.
                                                         COURT: Hon. Garland E. Burrell, Jr.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendants, by and
18 through defendants’ counsel of record, hereby stipulate as follows:

19          1.      By previous orders, this matter was set for status conference on January 21, 2016 and
20 then continued to January 22, 2016.
21          2.      By this stipulation, defendants move to continue the status conference and to exclude
22 time between January 21, 2016 and March 11, 2016 at 9:00 a.m. under Local Code T4.

23          3.      The parties agree and stipulate, and request that the Court find the following:
24                  a)     The discovery in this case includes 112 pages of investigative reports and related
25          documents jointly provided to all defense counsel. The government provided individual defense
26          counsel with data and reports from the alleged cell phones of their respective clients, consisting
27          of thousands of pages. The disclosure of this material to all defense counsel may require
28          litigation because of privacy concerns, as a joint stipulation for disclosure has not been reached.

      STIPULATION AND [PROPOSED] ORDER CONTINUING
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30    STATUS CONFERENCE, AND EXCLUDING TIME…
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 1                  b)     Defendants’ counsel need to consult with their respective clients, conduct

 2          investigation, review discovery and seek a solution to the discovery of the cell phone contents.

 3                  c)     Counsel for defendants believe that failure to grant the above-requested

 4          continuance would deny them the reasonable time necessary for effective preparation, taking into

 5          account the exercise of due diligence.

 6                  d)     The government does not object to the continuance.

 7                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of January 21, 2016 to March 11,

12          2016 inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20 Dated: January 12, 2016                                    BENJAMIN B. WAGNER
                                                              United States Attorney
21
                                                              /s/ PAUL A. HEMESATH
22                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
23

24 Dated: January 12, 2016                                    /s/ DAVID W. DRATMAN
                                                              DAVID W. DRATMAN
25
                                                              Counsel for Defendant
26                                                            SONIA KIM AND SIGNED ON
                                                              BEHALF OF ALL
27                                                            DEFENDANTS WITH
                                                              PERMISSION
28

      STIPULATION AND [PROPOSED] ORDER CONTINUING
                                                          2
30    STATUS CONFERENCE, AND EXCLUDING TIME…
               Case 2:15-cr-00015-TLN Document 94 Filed 01/13/16 Page 3 of 3


 1                                   [PROPOSED] FINDINGS AND ORDER

 2          The Court, having considered the stipulation of the parties, and good cause appearing therefrom,

 3 adopts the stipulation of the parties in its entirety as its order. Based on the stipulation of the parties, the

 4 Court finds that the failure to grant the requested continuance would deny defense counsel reasonable

 5 time necessary for effective preparation, taking into account the exercise of due diligence. The Court

 6 specifically finds that the ends of justice served by the granting of such continuance outweigh the

 7 interests of the public and that the time from January 21, 2016 to and including March 11, 2016 shall be

 8 excluded from computation of time within which the trial of this case must be commenced under the

 9 Speedy Trial Act, pursuant to Local Code T4 (time for defense counsel to prepare and continuity of
10 counsel pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv)).

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     Dated: January 12, 2016
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      STIPULATION AND [PROPOSED] ORDER CONTINUING
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30    STATUS CONFERENCE, AND EXCLUDING TIME…
